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                                          IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

ATLANTIC TRADING USA, LLC,                                      )
individually and on behalf of all others                        )
similarly situated,                                             )
                                                                )   Case No. 1:18-cv-01754
                                            Plaintiff,          )
                                                                )   Honorable Manish S. Shah
              v.                                                )
                                                               )
DOES 1-100,                                                     )
                                                                )
                                            Defendants.         )

                                              MOTION TO REASSIGN CASES
                                        AS RELATED PURSUANT TO LOCAL RULE 40.4

              Cboe Global Markets, Inc., Cboe Exchange, Inc., and Cboe Futures Exchange, LLC

(collectively “Cboe”) move for an order finding Tomasulo v. Cboe Exchange, Inc., No. 1:18-cv-

02025; Koza v. Cboe Exchange, Inc., No. 1:18-cv-02185; Beck v. Cboe Exchange, Inc., No. 1:18-

cv-02304; Bueno v. Cboe Global Markets, Inc., No. 1:18-cv-02435; Huang v. Chicago Board

Options Exchange, Inc., No. 1:18-cv-02460; and Palatiello v. Cboe Exchange, Inc., No. 1:18-cv-

02490, to be related to the above-captioned case, Atlantic Trading USA, LLC v. Does 1-100, No.

1:18-cv-01754, and for an order reassigning1 those cases to the calendar of this Court pursuant to

Local Rule 40.4.

              Pursuant to Local Rule 40.4(b), a case may be reassigned to another judge if it is related to

an earlier-numbered case assigned to that judge and the following criteria are met:

                                                            
1
  This motion seeks reassignment, not consolidation. See Helferich Patent Licensing, LLC v. N.Y.
Times Co., No. 1:10-cv-04387, 2012 WL 1368193, at *4 (N.D. Ill. Apr. 19, 2012) (ordering
reassignment but noting that the reassignment “does not necessarily include a consolidation of
the cases”). A separate motion to consolidate the lawsuits addressed in this motion with other
lawsuits in the Southern District of New York is pending in the Judicial Panel for Multidistrict
Litigation (“JPML”).
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                             (1) both cases are pending in this Court;
                             (2) the handling of both cases by the same judge is likely to result in
                             a substantial saving of judicial time and effort;
                             (3) the earlier case has not progressed to the point where designating
                             a later filed case as related would be likely to delay the proceedings
                             in the earlier case substantially; and
                             (4) the cases are susceptible of disposition in a single proceeding.
                                             
              All of the above cited Local Rule 40.4(b) conditions for reassignment are satisfied here.

              First, all seven cases are pending in this Court.

              Second, the handling of all the cases by the same judge is “likely to result in a substantial

saving of judicial time and effort.” All seven cases are class actions alleging manipulation of the

Cboe Volatility Index (“VIX”). There is also substantial overlap among the named defendants:

five cases name both Cboe and John Doe financial institutions as defendants, one case names

Cboe, and the instant case names only John Does.2 Indeed, every follow-on case except Beck

was explicitly designated as a related case on the civil cover sheet, and Beck is not meaningfully

different from the other cases.

              Because the allegations in each suit are so similar, they will present similar disputes of

fact and law. All seven cases contain similar definitions of the putative class, and therefore will

involve similar questions of law and fact at the class certification stage.3 Moreover, discovery




                                                            
2
  Although Cboe is not a defendant in this case, it is a defendant in the other six cases, and
therefore is permitted to file a motion in this docket to reassign all the cases. See BP Corp. N.A.
Inc. v. Northern Trust Inv., N.A., No. 08-cv-6029, 2009 WL 1684531, at *1, 4 (N.D. Ill. June 15,
2009) (granting motion for reassignment filed by plaintiff in a different case).
3
 Atlantic Trading: “All persons who traded VIX futures or options contracts on the Cboe
Futures Exchange or the Chicago Board Options Exchange between January 1, 2011 and the
present.” Ex. A at 26.
Tomasulo: “All persons who traded VIX Futures or Options in the United States on or after
January 1, 2009” and “All persons who traded VIX ETPs on an exchange in the United States on
or after January 1, 2009.” Ex. B at 41.


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requests and disputes are likely to be similar across every case; Cboe will face similar discovery

requests in every case since Cboe is a named defendant in six of the seven class actions. This

case, Atlantic Trading, is the only one in which Cboe is not a defendant but plaintiff has already

sought discovery from Cboe by filing a motion to serve a document subpoena, which this Court

denied without prejudice pending the JPML decision on whether to consolidate these cases with

the pending cases in New York.

              Finally, given the close similarity among all the cases, similar factual disputes concerning

the calculation of VIX, as well as similar legal disputes concerning the application of the

Commodities Exchange Act and Sherman Act to the defendants’ conduct, are likely to arise. For

instance, in every case raising antitrust allegations, the parties will litigate whether the

Commodities Exchange Act impliedly forecloses antitrust liability under the implied-repeal

doctrine. See, e.g., Credit Suisse Secs. (USA) LLC v. Billing, 551 U.S. 264 (2007) (holding that

federal securities law implicitly precludes application of the Sherman Act). Likewise, every suit



                                                            
Koza: “All persons who traded VIX Futures or VIX Options in the United States on or after
January 1, 2009” and “All persons who traded VIX ETPs on an exchange in the United States on
or after January 1, 2009.” Ex. C at 8.
Beck: “All persons who traded VIX Futures or Options in the United States on or after January 1,
2009” and “All persons who traded VIX ETPs on an exchange in the United States on or after
January 1, 2009.” Ex. D at 41.
Bueno: “All persons who held or traded SPX Options, VIX Options, VIX Futures, or VIX ETPs
during the following time periods: From March 26, 2004 to the present in the case of VIX
Futures and SPX Options; From February 24, 2006 to the present in the case of VIX Options;
and From August 2008 to the present in the case of VIX ETPs.” Ex. E at 58.
Huang: “All persons or entities who transacted in VIX derivatives . . . , from January 1, 2010
through the present.” Ex. F at 46.
Palatiello: “All persons or entities who transacted in VIX futures, VIX options, and/or VIX
ETPs during the following time periods: From March 26, 2004 to the present for VIX futures;
From February 24, 2006 to the present for VIX options; and From August 2008 to the present for
VIX ETPs.” Ex. G at 33.


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filed against Cboe asserts claims under the Commodities Exchange Act, and in every case, Cboe

will argue, among other things, that Cboe did not “fail[] to enforce any bylaw, rule, regulation, or

resolution that it is required to enforce” and did not act in “bad faith,” as required to establish

Cboe’s liability. 7 U.S.C. §§ 25(b)(1)(A), (4). Reassignment will save judicial effort by ensuring

that a single judge resolves all these disputes.

       Third, “the earlier case has not progressed to the point where designating a later filed

case as related would be likely to delay the proceedings in the earlier case substantially.” The

Atlantic Trading action has been pending for approximately one month. To date, the only

motion decided is the Plaintiff’s Motion for Early Discovery, which was denied without

prejudice. Reassignment would not delay the proceedings in this case at all.

       Fourth, “the cases are susceptible of disposition in a single proceeding.” As already

explained, tag-along class actions asserting similar class definitions and similar allegations

could, and indeed should, be resolved before a single judge.

       Finally, Local Rule 40.4(c) does not weigh against granting the motion. That rule states,

in relevant part: “In order that all parties to a proceeding be permitted to respond on the

questions of relatedness and possible reassignment, such motions should not generally be filed

until after the answer or motions in lieu of answer have been filed in each of the proceedings

involved.” In this case, however, Cboe is the only named defendant other than anonymous John

Doe defendants. Although the identity of those defendants may ultimately be resolved in

discovery, the Court should nonetheless reassign the cases now.

       If the John Does are identified at different times in multiple class actions proceeding on

different schedules, reassignment may be logistically difficult. Different cases might be subject

to inconsistent rulings on discovery obligations or class certification. Even if rulings are




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consistent across all cases, certain cases might have to be stayed for substantial periods while

other cases catch up, and disputes will arise over whether plaintiffs in slower-moving cases can

duplicate discovery that has already occurred in faster-moving cases.

              The cases are already on different tracks: Cboe’s responsive pleading is due on April 30

in Bueno, May 21 in Tomasulo, May 29 in Koza and Beck, and on as-yet-unknown dates in

Huang and Palatiello, as those complaints have not yet been served. Moreover, whereas most of

the suits will be subject to the Mandatory Initial Discovery Pilot Project Standing Order (“MIDP

Standing Order”),4 the Bueno suit will not be subject to the MIDP Standing Order because it

includes claims under Rule 10b-5 to the Securities and Exchange Act of 1934, and is subject to

the Private Securities Litigation Reform Act (“PSLRA”). The MIDP Standing Order does not

apply to claims subject to the PSLRA and the Bueno suit should be subject to a statutory stay of

discovery until any motion to dismiss is resolved. See MIDP Standing Order, at 1; 15 U.S.C. §

75u-4(b)(3)(B). Thus, without reassignment, discovery in that suit may proceed more slowly

than the remaining suits. Further, as the cases proceed, some cases might be subject to case-

specific discovery disputes that will further delay them relative to faster-moving cases and

therefore exacerbate the logistical difficulties of reassignment. Reassigning the cases

immediately would avoid these challenges.

              Undersigned counsel for Cboe has attempted to contact counsel for plaintiffs in all the

actions for which it seeks transfer. Counsel for Tomasulo informed Cboe’s counsel that

Tomasulo joins Cboe in the relief requested in this motion. Counsel for Beck informed Cboe’s



                                                            
4
 The MIDP Standing Order authorizes district courts to defer deadlines while considering a
motion to dismiss based on, among other defenses, absolute immunity. MIDP Standing Order, at
2. Cboe expects to raise an immunity defense and reserves the right to seek to defer deadlines
under that provision.


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counsel that Beck does not object to the relief requested. Counsel for Palatiello informed Cboe’s

counsel that Palatiello does not object to the relief requested. Cboe’s counsel intends to update

the Court concerning any communications with counsel for Atlantic Trading, Bueno, Huang or

Koza regarding their position on the relief requested in this motion.

Dated:         April 13, 2018                        Respectfully submitted,

                                                     JENNER & BLOCK LLP


                                                     /s/    Gregory M. Boyle

                                                      Reid J. Schar
                                                      Gregory M. Boyle
                                                      JENNER & BLOCK LLP
                                                      353 North Clark Street
                                                      Chicago, Illinois 60654-3456
                                                      Telephone: (312) 923-2659

                                                      Attorneys for Interested Parties Cboe Global
                                                      Markets, Inc., Cboe Exchange, Inc., and
                                                      Cboe Futures Exchange, LLC




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                              CERTIFICATE OF SERVICE

       I, Gregory M. Boyle, an attorney, certify that on April 13, 2018, I caused the Notice of

Motion and Motion to Reassign Cases as Related Pursuant to Local Rule 40.4 to be served on

all counsel of record listed in Atlantic Trading USA, LLC v. Does 1-100, No. 1:18-cv-01754;

Tomasulo v. Cboe Exchange, Inc., No. 1:18-cv-02025; Koza v. Cboe Exchange, Inc., No. 1:18-cv-

02185; Beck v. Cboe Exchange, Inc., No. 1:18-cv-02304; Bueno v. Cboe Global Markets, Inc., No.

1:18-cv-02435; Huang v. Chicago Board Options Exchange, Inc., No. 1:18-cv-02460; and

Palatiello v. Cboe Exchange, Inc., No. 1:18-cv-02490 via the Court’s ECF system.




                                              /s/ Gregory M. Boyle




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